      Case 2:24-cv-00312-AMM     Document 13     Filed 07/02/24   Page 1 of 2            FILED
                                                                                 2024 Jul-02 AM 11:13
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

BROOKE HAYES,                               )
                                            )
      Plaintiff,                            )      Civil Action No.
                                            )
vs.                                         )      2:24-cv-00312-AMM
                                            )
TOPGOLF USA BIRMINGHAM, LLC,                )      UNOPPOSED
and TOP GOLF USA, INC.,                     )

     Defendants.
____________________________________________________________________

         PLAINTIFF’S MOTION TO SUBSTITUTE DEFENDANT

      Pursuant to Fed. R. Civ. P. 21 and 15(c)(1)(C), Plaintiff moves the Court to

enter an order substituting Topgolf Payroll Services, LLC as party-defendant for

Topgolf USA Birmingham, LLC. As grounds, plaintiff states the following:

      1. In her complaint, plaintiff named Topgolf USA Birmingham, LLC as her

former employer and co-defendant.

      2. In an answer to the complaint filed by Topgolf Payroll Services, LLC (Doc.

6), that entity stated that it was plaintiff’s employer and that Topgolf USA

Birmingham, LLC was not plaintiff’s employer.

      3. Plaintiff therefore seeks to substitute Topgolf Payroll Services, LLC as

party-defendant for Topgolf USA Birmingham, LLC. This motion has no effect on

co-defendant Top Golf USA, Inc. or plaintiff’s claims against that defendant.
      Case 2:24-cv-00312-AMM        Document 13      Filed 07/02/24    Page 2 of 2




      4. Plaintiff further moves that the substitution of Topgolf Payroll Services,

LLC for Topgolf USA Birmingham, LLC operate as an amendment to Plaintiff’s

Complaint pursuant to Fed. R. Civ. P. 15(c)(1)(C).

      5. Plaintiff has consulted with defendant regarding the motion, and defendant

has no opposition.

                                         Respectfully submitted,

                                         s/ Adam M. Porter
                                         Adam M. Porter
                                         Attorney for Plaintiff
                                         Adam M. Porter, LLC
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                           CERTIFICATE OF SERVICE
       I hereby certify that on July 2, 2024 I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which will send notification of such
filing to Gordon L. Blair, Esq. and David Nikolic, Esq. Ogletree, Deakins, Nash,
Smoak & Stewart, P.C. 420 20th Street North, Suite 1900 Birmingham, AL 35203
and that there are no non-CM/ECF participants in this case.


                                         s/ Adam M. Porter
                                         Attorney for Plaintiff




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